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                 EXHIBIT 5
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  SMARTMATIC USA CORP., SMARTMATIC                            )
  INTERNATIONAL HOLDING B.V., and SGO                         )
  CORPORATION LIMITED                                         )
       Plaintiffs,                                            )
                                                                        No. 1: 21-cv-02995-CJN
             V.                                               )
  SIDNEY POWELL,                                              )
       Defendant.                                             )
                                                              )
                                                              )


             DEFENDANT SIDNEY POWELL'S ANSWERS AND OBJECTIONS TO
                   PLAINTIFFS' FIRST SET OF INTERROGATORIES

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendant Sidney

Powell hereby responds to and objects to the First Set of Inte1rngatories of Plaintiffs Smartmatic

USA Corp., Smarimatic International Holding B.V., and SGO Corporation Limited (collectively,

"Smartmatic").

                                  PRELIMINARY STATEMENT

        1.         By responding to Smartmatic' s First Set of Inten-ogatories, Sidney Powell does

not waive (i) any objections as to the competency, relevancy, materiality, or admissibility as

evidence, for any purpose, of any information provided in response to these Interrogatories; (ii)

the right to object on any ground to the use of the information provided in response to these

Intenogatories at any hearing, trial, or other proceeding in this litigation; (iii) the right to object on

any ground at any time to a demand for further responses to these Inten-ogatories; or (iv) the right

at any time to revise, correct, add to, supplement, amend, or clarify the responses contained herein.

        2.         Powell responds to each Interrogatory as and to the extent Powell currently

interprets and understands it. If Smartmatic subsequently asserts an interpretation of an

Interrogatory or term therein that differs from Powell ' s understanding, Powell reserves the right


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to alter or supplement her objections or responses.



                                    GENERAL OBJECTIONS

        Powell expressly incorporates each of the following General Objections in her Response

to each Inten-ogatory as though fully set fo1th therein and states that, by making a specific objection

to a paiticular Inte1rngatory, Powell does not imply that any of the General Objections are not also

applicable to that Interrogatory. All responses are subject to, qualified by, and limited by these

objections without waiving such objections and/or any applicable privileges. Nothing contained in

any Response herein will be deemed an admission, concession, or waiver by Powell as to the

relevance, materiality, or admissibility of any information disclosed in response to Sma1tmatic's

lnten-ogatories.

        1.         Powell objects to Smartmatic' s First Set of Interrogatories, including their

Definitions and Instrnctions, on the ground and to the extent they seek infonnation beyond the

clear limitations of the Court's May 24, 2023 Order staying the above-captioned action except for

jurisdictional discovery. Interrogatories that seek information beyond Powell 's contacts with the

District of Colombia in connection with the limited number of Powell statements identified by

Sma1tmatic's in its complaint violate the Comt's Order. Powell will respond to these discovery

requests only within the scope of the Comt' s May 24, 2023 order.

       2.          Powell objects to Smaitmatic's Instructions setting forth the timeframe for these

Requests to be January 1, 2020 to the present. The instruction seeks infonnation in violation of the

Court's order and documents that is neither relevant nor reasonably calculated to the discovery of

admissible evidence.

       3.          Powell objects to Smartmatic' s First Set of lnten-ogatories, including their

Definitions and Instructions, on the ground and to the extent they would impose obligations on

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Powell beyond those set forth under the Federal Rules of Civil Procedure and the local rules of

this Cornt, and any other applicable orders issued by this Cornt.

        4.        Powell objects to Sma1tmatic' s First Set of Interrogatories, including their

Definitions and Instructions, on the grounds and to the extent that they are overly burdensome,

seek infonnation that is neither relevant to the claims and defenses of this lawsuit nor reasonably

calculated to lead to the discovery of admissible evidence. Powell further objects to these

Interrogatories to the extent they seek information that is not proportional to the needs of the case.

        5.        Powell objects to Sma1tmatic' s First Set of InteITogatories, including their

Definitions and Instructions, on the grounds and to the extent that they seek information that is

protected by the attorney-client privilege or the work product doctrines, or other privileged or

protections from discovery. Powell will not produce privileged documents, work product, or

confidential or other information protected from discovery. Powell is an attorney. Powell reserves

all rights regarding the inadvertent disclosure of infonnation that is privileged or protected as work

product.

        6.        Any response or objection by Powell herein does not constitute a representation

or admission that any document, fact, opinion, or other information does in fact exist or is known

to her. Powell's responses and objections are based upon information reasonably available to her

at the time of this response or of any document production. Fmther, Powell ' s agreement to search

for and produce any info1mation is made expressly upon the condition that all parties will follow

any applicable confidentiality agreements and protective order(s) that have been agreed or entered,

any that may be agreed or entered, or that otherwise govern the production of materials in this

case.




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       7.         Powell objects to Smaitmatic' s First Set of Interrogatories, including their

Definitions and Instrnctions, on the grounds and to the extent that they seek infonnation that is

overly broad, and neither relevant nor reasonably calculated to lead to the discovery of admissible

evidence.

       8.         Powell objects to the Interrogatories below to the extent that, by reference,

contains subpaits exceeding the number of intenogatories permitted under the Federal Rules of

Civil Procedure. By responding to the Interrogatory, Powell does not waive this objection.

       9.         Powell reserves the right to supplement, amend, or modify her responses to these

inte1Togatories. Powell reserves the right to produce documents in lieu of or as a supplement to her

Responses to these Intenogatories.



                              RESPONSES AND OBJECTIONS

INTERROGATORY NO. 1:

       Identify any and all electronic devices (including, but not limited to, laptop computers,

desktop computers, tablets, iPads, Nooks, Kindles, Samsung Galaxys, Google Nexuses, smart

phones, cloud services and/or hard drives) that You have used in connection with Your statements

concerning Smartmatic and/or allegations of voter fraud or in-egularities in the 2020

PRESIDENTIAL ELECTION and, for each such device, identify any refurbishments,

replacements, and/or changes made to the devices identified, such as the replacement of the hard

drive or any other pa1ts, or the use of any wiping software or programs such as "file shredder,"

"windows washer," "eraser," and/or "evidence eliminator."




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RESPONSE:

        Powell objects to this interrogatory on the grounds that it violates the Court' s May 24, 2023

Order and Stay. Powell objects to this interrogatory on the grounds that it is overly broad and

unduly burdensome in that it seeks information that is neither relevant to the claims and defenses ·

of this lawsuit nor reasonably calculated to the discovery of admissible evidence. The interTOgatory

seeks infonnation beyond the limited number of statements made by Powell that are identified in

12 paragraphs of Smartmatic's 544 paragraph, 198-page complaint. Powell objects on the ground

that the interrogatory is vague - "devices . . . that You have used in connection with Your

statements" is unclear. The limited number of statements made by Powell identified by Smarimatic

in its complaint were made on Fox television programs and at the RNC, and not on an electronic

device, as the term is known by its plain and ordinary meaning. Powell also objects to this

inten-ogatory to the extent it calls for subparis and therefore the collection of these inten-ogatories

exceeds the number of interrngatories permitted by the Federal Rules of Civil Procedure.

         Subject to, without waiving, and incorporating the foregoing general objections and

specific objections, Powel responds that this inten-ogatory violates the Court' s May 24, 2023 Order

and stay of this litigation. The Court "ORDERED that the case is STAYED pending the filing of

an amended complaint or the completion of jurisdictional discovery" (ECF 37). This interTOgatory

is designed to seek infonnation um-elated to the limited jurisdictional discovery Smartmatic is

allowed to take for the statements identified by Smaiimatic in 12 paragraphs of its 544 paragraph,

198-page complaint, and violates the Cour1's order and stay.




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INTERROGATORY NO. 2:

         Identify all effo1ts taken to preserve, collect, and search potentially responsive data and

 locations that may contain such materials.

RESPONSE:

       Powell objects to this inte1rngatory on the grounds and to the extent that it violates the

Comt' s May 24, 2023 Order and Stay. Powell objects to this interrogatory to the extent that it

seeks infonnation protected by the attorney-client privilege or the work product doctrines, or other

privileged or protections from discovery.

       Subject to, without waiving, and incorporating the foregoing general objections and

specific objections, Powel responds that this interrogatory is designed to seek infonnation beyond

the limited jurisdictional discovery Smartmatic is allowed to take for the limited number of

statements identified by Smmtmatic in its complaint, and violates the Court' s order and stay. For

those interrogat01ies within Smartmatic' s First Set of Inte1Togatories and Requests for the

Production of Documents that did not violate this Court's Order, which "ORDERED that the case

is STA YED pending the filing of an amended complaint or the completion of jurisdictional

discovery" (ECF 3 7), Powell conducted a reasonable search for documents among business and

personal records. Powell also refened to her sworn declaration, which was filed with her motion

to dismiss. Powell has turned off auto-delete features in certain communication apps and, through

use of a vendor (retained via counsel), has had data collected and conveyed to counsel.




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 INTERROGATORY NO. 3:

         State a complete li st of all locations and data that You used to communicate about an y

 materials responsive to any of Plaintiffs' Requests for Production, including but not limited to

 specific email accounts, text messages, messaging applications, social media, devices, hardware,

 and any form of communication.

RESPONSE:

       Powell objects to this inte1rngatory on the grounds that it is vague and non-decipherable.

The request for a list of locations and data used to communicate about responsive materials makes

no sense. Powell objects to this interrogatory on the grounds and to the extent that it seeks

infonnation protected by the attorney-client p1ivilege or the work product doctrines, or other

privileged or protections from discovery. Powell objects to this inte1rngatory on the ground that it

seeks information that is neither relevant to the claims and defenses of this lawsuit nor reasonably

calculated to lead to the discovery of admissible evidence. For instance, the interrogatory could be

read to include computer hardware of outside counsel. Powell objects to this intenogatory on the

grounds and to the extent that it violates the Comt's May 24, 2023 Order, which "ORDERED that

the case is ST A YED pending the filing of an amended complaint or the completion of

jmisdictional discovery" (ECF 37). This interrogatory is designed to seek information unrelated to

the limited jurisdictional discovery Smartmatic is allowed to take for the limited number of

statements identified by Smaitmatic in 12 paragraphs of its 544 paragraph, 198-page complaint,

and violates the Court's order and stay.

       Subject to, without waiving, the foregoing general objections and specific objections,

Powell refers to documents that will be produced in response to Sma1tmatic's First Set of Requests

for the Production of Documents.




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INTERROGATORY NO. 4:

        Identify all sources ofinfonnation for the DEFAMATORY STATEMENTS .


RESPONSE:

       Powell objects to this interrogatory on the grounds that it characte1izes Powell ' s statements

as defamatory - a derogatory term and legal conclusion. By responding to this inte1rngatory,

Powell does not admit or concede that any statement published by her was defamatory. Powell

objects to this interrogatory on the grounds and to the extent that it is overly broad , unduly

burdensome and arbitrary, including to the extent it seeks "all" sources Powell relied upon,

especially given that it has been almost three years since the statements were made. Powell objects

to this intenogatory on the grounds and to the extent that the term " sources" is vague and

ambiguous. Powell interprets the te1m by its plain and ordinary meaning - a point of origin or

procurement; a supply of information -            when responding to this inte1rngato1y. See

https:/lwww.merriam-webster.com/dictionarylsource. Powell objects to this inte1Togato1y to the

extent that by answering this interrogatory, such answer is deemed to be an admission that the

recital of any quote in the complaint is fully accurate. Powell makes no such admission. For

instance, words or phrases in many "quotes" in the complaint are or may be missing, abbreviated,

and have added ellipses that may take the quoted words and statements out of context or disto1t

their meaning.

       Subject to, without waivmg, and incorporating the foregoing general objections and

specific objections, Powel responds that this inten-ogatory violates the Court's May 24, 2023 Order

and stay of this litigation. The Court "ORDERED that the case is ST A YED pending the filing of

an amended complaint or the completion of jurisdictional discovery." (ECF 37.) This interrogatory

is designed to seek infonnation unrelated to the limited jmisdictional discovery Smartmatic is


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allowed to take for the limited number of statements identified by Smartmatic in 12 paragraphs of

its 544 paragraph, 198-page complaint, and violates the Court' s order and stay.



INTERROGATORY NO. 5:

         For each instance in which You used the word " we" in the statements you made in the

 broadcasts alleged in Paragraphs l 25(a), l 25(b ), 125(1), I 25(n), I 25(s), l 49(h), I 91 (k) of the

 COMPLAINT and Exhibits 3, 5, 25, 38, 39 to the COMPLAINT, identify all persons who You

 understood comp1ised "we" when You made those statements.

RESPONSE:

        Powell objects to this inte1rngatory to the extent that by answering this interrogatory, such

answer is deemed to be an admission that the recital of any quote in the complaint is fully accurate.

Powell makes no such admission. For instance, words or phrases in many "quotes" in the complaint

are or may be missing, abbreviated, and have added ellipses that may take the quoted words and

statements out of context or distort their meaning. Powell objects to this inte1rngatory to the extent

it calls for subparts and therefore the collection of these interrogatory exceeds the number of

interrogatories pennitted by the Federal Rules of Civil Procedure.

        Subject to, without waiving, and incorporating the foregoing general objections and

specific objections, Powel responds that this inte1Togatory violates the Coutt' s May 24, 2023 Order

and stay of this litigation. The Couit "ORDERED that the case is STAYED pending the filing of

an amended complaint or the completion of jurisdictional discovery" (ECF 37). This inte1rngatory

is designed to seek infonnation unrelated to the limited jurisdictional discovery Smartmatic is

allowed to take for the limited number of statements identified by Smartmatic in its complaint, and

violates the Court' s order and stay.




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INTERROGATORY NO. 6:

         Describe your relationship with the TRUMP CAMPAIGN, including the date you joined

 the legal team for the TRUMP CAMPAIGN and/or DONALD TRUMP following the 2020

 PRESIDENTIAL ELECTION, whether your agreement to join was verba l or written, with

 whom you made the agreement and how, whether you were compensated, and how you learned

 that the agreement was terminated.

RESPONSE:

        Powell objects to this interrogatory on the grounds that it is overly broad and ambiguous -

the tenns TRUMP CAMPAIGN includes agents, employees, " members of the [US] Cabinet,

officials within any Executive Department or agency of the U.S. federal government, including

but not limited to advisors, attorneys, and family members. " Such a definition is overly broad and

overly inclusive of a political campaign. Powell objects to this interrogatory on the grounds that it

is vague and indecipherable - requests to "describe" Powell ' s relationship with DONALD

TRUMP and the TRUMP CAMPAIGN, as defined, are inherently unclear. Powell objects on the

grounds and to the extent the inte1rngatory and its breadth violates the Court's May 24, 2023 Order

and stay of this litigation. The Court "ORDERED that the case is ST A YED pending the filing of

an amended complaint or the completion of jurisdictional discovery" (ECF 3 7). This interrogatory

is designed to seek information beyond the limited jurisdictional discovery Smartmatic is allowed

to take for the limited number of statements identified by Smartmatic in 12 paragraphs of its 544

paragraph, 198-page complaint, and violates the Court's order and stay. Powell objects to this

interrogatory on the grounds and to the extent that it seeks to impose obligations beyond the

Federal Rules - this interrogatory has at least 6 subparts and constitutes multiple interrogatories.

       Subject to, without waiving, and incorporating the foregoing general and specific
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objections, Powell responds that she did not join the TRUMP CAMPAIGN. Powell also responds

that she maintained a professional, amicable relationship with DONALD TRUMP. There were no

written or verbal agreements of engagement with either DONALD TRUMP or the TRUMP

CAMPAIGN, and no compensation was paid .



INTERROGATORY NO. 7:

         Identify each MEETING you attended as a member of the legal team for the

 TRUMP CAMPAIGN and, for each MEETING, state the date it occtmed, where it occmTed,

 who attended, and what h·anspired.

RESPONSE:

        Powell objects to this interrogatory on the grounds that it is overly broad and ambiguous -

the tenns TRUMP CAMPAIGN includes agents, employees, "members of the [US] Cabinet,

officials within any Executive Department or agency of the U.S. federal government, including

but not limited to advisors, attorneys, and family members." Such a definition is overly broad and

overly inclusive of a political campaign. Powell objects to this inte1rngatory on the grounds that it

is vague and indecipherable - the requests to "describe" Powell 's relationship with DONALD

TRUMP and the TRUMP CAMPAIGN, as defined, are inherently unclear. Powell objects to this

interrogatory to the extent the interrogatory violates the Comt's May 24, 2023 Order and stay of

this litigation. The Court "ORDERED that the case is STAYED pending the filing of an amended

complaint or the completion of jurisdictional discovery" (ECF 3 7). This interrogatory is designed

to seek information beyond the limited jurisdictional discovery Sma1tmatic is allowed to take for

the limited number of statements identified by Sma1tmatic in 12 paragraphs of its 544 paragraph,

198-page complaint, and violates the Court 's order and stay.



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        Subject to, without waivmg, and incorporating the foregoing general and specific

objections, Powell responds that Powell was not a member of the legal team for the TRUMP

CAMPAIGN.



INTERROGATORY NO. 8:

         Identify all persons with whom you had any MEETING regarding SMARTMATIC,

 DOMINION, or allegations of fraud or irregularities involving the election technologies or

 systems used during the 2020 PRESIDENTIAL ELECTION, and for each MEETING, state the

 date it occun-ed, who attended, and what transpired . The timeframe for this Intenogatory is

 November 1, 2020 through January 31 , 2021.

RESPONSE:

         Powell objects to this interrogatory on the grounds and to the extent that it violates the

Court's May 24, 2023 Order and Stay. The Court "ORDERED that the case is STAYED pending

the filing of an amended complaint or the completion of jurisdictional discovery" (ECF 37). This

interrogatory is designed to seek information unrelated to the limited ju1isdictional discovery

Smartmatic is allowed to take for the limited number of statements identified by Smartmatic in 12

paragraphs of its 544 paragraph, 198-page complaint, and violates the Court's order and stay.

Powell objects to this inte1rngatory on the grounds that it is overly broad and unduly burdensome,

in that it seeks info1mation that is neither relevant nor reasonably calculated to the discovery of

admissible evidence. For similar reasons, Powell objects on the grounds and to the extent that it

seeks information that is not related to the claims and defenses of this lawsuit. The intenogatory

expressly seeks infonnation beyond the limited number of statements made by Powell that

Smartmatic has identified in its complaint. Powell objects to this interrogatory to the extent it calls



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for subpaiis and therefore the collection of these intenogatory exceeds the number of

interrogatories permitted by the Federal Rules of Civil Procedure.

         Subject to, without waiving, and incorporating the foregoing general objections and

specific objections, Powel responds that Smaitmatic' s complaint identifies alleged "false

statements" made during five short media appearances:

                 •   November 14, 2020 Justice with Judge Jeanine (Comp!. 11 84-85);
                 •   November 15, 2020 Sunday Morning Futures with Maria Bartiromo
                     (Jd.1190-91);
                 •   November 16, 2020 Lou Dobbs Tonight (Id. 1194-95);
                 •   November 19, 2020 (RNC) Lou Dobbs Tonight (Id. 11101-03);
                 •   December 10, 2020 Lou Dobbs Tonight (Id. 11 109, 111 -12).

The only times Powell was in the District of Columbia in connection with her identified statements,

to the best of her recollection, were the statements she made on November 19, 2020 at the RNC

and statements she made from the Trump Hotel on the December 10, 2020 Lou Dobbs Fox

broadcast. To the extent this inte1Togato1y seeks further information, the intenogatory violates the

Court's order.



INTERROGATORY NO. 9:

         Identify each date you went to the White House and, for each date, describe any

 MEETING you attended, who else attended such MEETING, and what transpired in the

 MEETING.

RESPONSE:

       Powell objects to this interrogatory on the grounds and to the extent that it violates the

Court' s May 24, 2023 Order and Stay. The Comi "ORDERED that the case is STAYED pending

the filing of an amended complaint or the completion of juiisdictional discovery" (ECF 37). This

interrogato1y is designed to seek information beyond the limited jurisdictional discovery


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Srnartrnatic is allowed to take for the statements identified by Srnartrnatic in 12 paragraphs of its

544 paragraph, 198-page complaint, and violates the Cou11 ' s order and stay. Powell objects to this

interrogatory to the extent it calls for subparts and therefore the collection of these interrogatory

exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure. This

inteITogatory asks four separate questions.

         Subject to, without waiving, and incorporating the foregoing general objections and

specific objections, Powel responds that Smai1matic' s complaint identifies alleged "false

statements" made during five short media appearances:

               •   November 14, 2020 Justice with Judge Jeanine (Comp!. ilil 84-85);
               •   November 15, 2020 Sunday Morning Futures with Maria Bartiromo
                   (Id. ilil 90-91);
               •   November 16, 2020 Lou Dobbs Tonight (Id. ilil 94-95);
               •   November 19, 2020 (RNC) Lou Dobbs Tonight (Id. ilil 101-03);
               •   December 10, 2020 Lou Dobbs Tonight (Id. ilil 109, 111-12).

Powell was not at the White House for any of those statements and did not have meetings

scheduled with the White House in connection with those statements. The only times Powell was

in the District of Columbia in connection with her statements identified by Smartmatic, to the best

of her recollection, were the statements made on November 19, 2020 at the RNC and statements

she made from the Trump Hotel on the December 10, 2020 Lou Dobbs Fox broadcast. Powell

attended a Chanukah celebration at the White House on the evening of December 10, 2020.




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INTERROGATORY NO. 10:

         Identify each date in which you were physically present in the District of Columbia in

 2020 and 2021 and for each such date, describe why you were in the District of Columbia, and,

 if you stayed overnight, where in the District of Columbia you stayed overnight.

RESPONSE:

        Powell objects to this interrogatory on the grounds that the timeframe set forth in this

intenogatory is overly broad. Powell ob,iects to this interrogatory on the grounds and to the extent

that it violates the Court 's May 24, 2023 Order and Stay. The Court "ORDERED that the case is

STAYED pending the fi ling of an amended complaint or the completion of jurisdictional

discovery" (ECF 37). To the extent this intenogatory seeks information that is unrelated to specific

personal jurisdiction for the statements identified by Smartmatic in 12 paragraphs of Smartmatic' s

544 paragraph, 198-page complaint, this intenogatory violates the Court's order and stay. Powell

objects to this inten-ogatory to the extent it calls for subparts and therefore the collection of these

interrogatory exceeds the number of inte1Togato1ies permitted by the Federal Rules of Civil

Procedure. This interrogatory asks several separate questions.

       Subject to, without waiving, and without waiving the foregoing general objections and

specific objections, Powell responds that Smartmatic's complaint identifies alleged "false

statements" made dming five sho11 media appearances:

               •   November 14, 2020 Justice with Judge Jeanine (Comp!. i!1 84-85);
               •   November 15, 2020 Sunday Morning Futures with Maria Bartiromo
                   (Id. 1190-91);
               •   November 16, 2020 Lou Dobbs Tonight (Id. i!194-95);
               •   November 19, 2020 (RNC) Lou Dobbs Tonight (Id.11101-03);
               •   December 10, 2020 Lou Dobbs Tonight (Id. ,r,r 109, 111-12).

The only times Powell was in the District of Columbia in connection with her statements identified

by Smai1matic, to the best of her recollection, were the statements made on November 19, 2020 at


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the RNC and statements she made from the Trump Hotel on the December 10, 2020 Lou Dobbs

Fox broadcast. Powell attended a Chanukah celebration at the White House on the evening of

December 10, 2020. Powell also refers to her sworn declaration, filed with her motion to dismiss.




INTERROGATORY NO. 11:

           Describe in full any documents or oral understandings which constitute, set forth ,

 contain infonnation about, or refer or relate in any way to your ownership interest in, or any

 financial or business relationship with, DTR and/or POWELL P.C.

RESPONSE:

           Powell objects to this inteffogatory on the grounds that it is overly broad and unduly

burdensome, and seeks information that is not relevant. This interrogatory seeks information about

non-parties and which is neither relevant to the claims and defenses of this lawsuit nor reasonably

calculated to the discovery of admissible evidence. Powell also objects on the grounds that this

intenogatory violates the Court's May 24, 2023 order. This intenogatory seeks information about

non-parties and/or is an effort to conduct third-pa1iy discovery on Powell in connection with

Smaiimatic' s pending New York lawsuit. Smartmatic can take such discovery in its New York

action.

          Subject to, without waiving, and incorporating the foregoing general objections and

specific objections, Powel responds that this inte1rngatory violates the Court's May 24, 2023 Order

and stay of this litigation. The Court "ORDERED that the case is STAYED pending the filing of

an amended complaint or the completion of jurisdictional discovery" (ECF 3 7). This inten-ogatory

is designed to seek infonnation unrelated to the limited jurisdictional discovery Smartmatic is

allowed to take for the limited number of statements identified by Smartmatic in 12 paragraphs of




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its 544 paragraph, 198-page complaint, and violates the Court ' s order and stay.



INTERROGATORY NO. 12:

           Describe in full any documents or oral understandings which constitute, set forth,

 contain information about, or refer or relate in any way to your participation in, or right to

 participate in, the control or management of the business of DTR and/or POWELL P.C.

RESPONSE:

           Powell objects to this intenogatory on the grounds that it is overly broad and unduly

burdensome, and seeks information that is not relevant. This inte1Togatory seeks infonnation about

non-parties and which is neither relevant to the claims and defenses of this lawsuit nor reasonably

calculated to the discovery of admissible evidence. Powell also objects on the grounds that this

inten ogatory violates the Court ' s May 24, 2023 order. This inten-ogatory seeks infonnation about

non-paiiies and/or is an effort to conduct third-party discovery on Powell in connection with

Smartmatic' s pending New York lawsuit. Smartmatic can take such discovery in its New York

action.

          Subject to , without waiving, and incorporating the foregoing general objections and

specific objections, and the objections to Inte1Togatory 12, Powel responds that this inte1Togatory

violates the Couii' s May 24, 2023 Order and stay of this litigation. The Court "ORDERED that

the case is ST A YED pending the filing of an amended complaint or the completion of

jurisdictional discovery" (ECF 37). This interrogatory is designed to seek infonnation unrelated to

the limited jurisdictional discovery Smartmatic is allowed to take for the limited number of

statements identified by Sma1imatic in 12 paragraphs of its 544 paragraph, 198-page complaint,

and violates the Court's order and stay.



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INTERROGATORY NO. 13:

        Identify all Persons who have ever held any ownership interest in DTR and/or

POWELL P.C. and, for each such Person, his, her or its prop011ionate share of ownership.

RESPONSE:

         Powell objects to this inten-ogatory on the grounds that it is overly broad and unduly

burdensome, and seeks infonnation that is not relevant. This inte1rngatory seeks information about

non-parties and which is neither relevant to the claims and defenses of this lawsuit nor reasonably

calculated to the discovery of admissible evidence. Powell also objects on the grounds that this

intenogatory violates the Court's May 24, 2023 order. This inten-ogatory seeks infonnation about

non-pm1ies and/or is an effort to conduct third-party discovery on Powell in connection with

Smartmatic's pending New York lawsuit. Smartmatic can take such discovery in its New York

action. Powell also objects to this inteITogatory on the ground that it has subparts and to the extent

they impose obligations upon Powell beyond those allowed by the Federal Rules of Civil

Procedure.

       Subject to, without wmvmg, and incorporating the foregoing general objections and

specific objections, and the objections to InteITogatories 11-12, Powel responds that this

interrogatory violates the Com1' s May 24, 2023 Order and stay of this litigation. The Court

"ORDERED that the case is STAYED pending the filing of an amended complaint or the

completion of jurisdictional discovery" (ECF 3 7). This inte1Togatory is designed to seek

info1mation um-elated to the limited jurisdictional discovery Sma11matic is allowed to take for the

limited number of statements identified by Smartmatic in 12 paragraphs of its 544 paragraph, 198-

page complaint, and violates the Court's order and stay.




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INTERROGATORY NO. 14:

         For each person You identify in response to Interrogatory No. 13 , describe in full (a) the

date such interest was acquired; (b) all documents evidencing such ownership interests; (c)

whether such Person ' s interest has been terminated, sold, or otherwise transferred, and if so, the

Person' s proportionate share of ownership on the date of termination; and (d) whether such Person

holds or has held an office, directorship or has been an employee or agent of DTR and/or POWELL

P.C. and if so, state the date ranges (by month and year) that the Person held or perfonned those

roles.

RESPONSE:

          Powell objects to this interrogato1y on the grounds that it is overly broad and unduly

burdensome, and seeks information that is not relevant. This inte1rngatory seeks information about

non-paiiies and which is neither relevant to the claims and defenses of this lawsuit nor reasonably

calculated to the discovery of admissible evidence. Powell also objects on the grounds that this

inteffogatory violates the Court's May 24, 2023 order. This intenogat01y seeks infonnation about

non-pariies and/or is an effort to conduct third-pmiy discovery on Powell in connection with

Sma1imatic' s pending New York lawsuit. Smarimatic can take such discovery in its New York

action. Powell also objects to this inte1rngatory on the ground that it has subpaiis and to the extent

they impose obligations upon Powell beyond those allowed by the Federal Rules of Civil

Procedure.

         Subject to, without waiving, and incorporating the foregoing general objections and

specific objections, and the objections to Interrogatories 11-13, Powel responds that this

intenogatory violates the Court's May 24, 2023 Order and stay of this litigation. The Court




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"ORDERED that the case is STAYED pending the fi ling of an amended complaint or the

completion of jurisdictional discovery" (ECF 37). This interrogatory is designed to seek

information unrelated to the limited jurisdictional discovery Smartmatic is allowed to take for the

limited number of statements identified by Smartmatic in 12 paragraphs of its 544 paragraph, 198-

page complaint, and violates the Court' s order and stay.



INTERROGATORY NO. 15:

        Describe Your relationship with DTR and/or POWELL P.C., including: (a) your role in

the founding ofDTR; (b) all titles you have held and the date range of such titles, including as an

officer, member of the board of directors, document custodian, and/or employee; and (c) any

compensation, including an expense coverage or in-kind compensation, that You have received

and/or that POWELL P.C. has received from DTR.

RESPONSE:

         Powell objects to this inteITogatory on the grounds that it is overly broad and unduly

burdensome, and seeks infonnation that is not relevant. This inten-ogatory seeks info1mation about

non-parties and which is neither relevant to the claims and defenses of this lawsuit nor reasonably

calculated to the discovery of admissible evidence. Powell also objects on the grounds that this

inteITogatory violates the Com1's May 24, 2023 order. This inten-ogatory seeks infonnation about

non-parties and/or is an eff011 to conduct third-party discovery on Powell in connection with

Smai1matic's pending New York lawsuit. Smartmatic can take such discovery in its New York

action. Powell also objects to this interrogatory on the ground that it has subpai1s and to the extent

they impose obligations upon Powell beyond those allowed by the Federal Rules of Civil

Procedure.




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       Subject to, without waivmg, and incorporating the foregoing general objections and

specific objections, and the objections to Interrogatories 11-14, Powel responds that this

interrogatory violates the Court's May 24, 2023 Order and stay of this litigation. The Court

"ORDERED that the case is STAYED pending the filing of an amended complaint or the

completion of jurisdictional discovery" (ECF 37). This interrogato1y is designed to seek

infonnation unrelated to the limited jurisdictional discove1y Smaiimatic is allowed to take for the

limited number of statements identified by Sma1imatic in 12 paragraphs of its 544 paragraph, 198-

page complaint, and violates the Cami's order and stay.




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Dated: July 26, 2023                      Respectfully submitted,


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                                          Counsel for Defendant Sidney Powell




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                                         VERJFICA TION

         I, Sidney Powell , am the defendant in this action and have read the factual answers

contained in the foregoing Defendant Sidney Powell's Answers and Objections to Plaintiffs First

Set of Interrogatories. I know the contents thereof, and they are true to my knowledge, information,

and belief.

         I declare under penalty of perjury that the foregoing is true and correct.



Executed on: July2b, ~ 3
